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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                  ALEXANDRIA DIVISION

 JERRY MCKINNEY                                    CASE NO. 1:19-CV-01339

 VERSUS                                            JUDGE DAVID C JOSEPH

 SHERIFFS OFFICE RAPIDES PARISH                    MAGISTRATE JUDGE PEREZ-MONTES
 ET AL

                                      SCHEDULING ORDER
 The following case-specific deadlines are hereby set in accordance with Fed. R. Civ. P. 16(b). If
 you have any questions about the rules or deadlines fixed by this order or otherwise wish to contact
 chambers, you may reach Judge Joseph’s chambers by calling (318) 484-1200. You may also reach
 Magistrate Judge Perez-Montes by phone at (318) 473-7510, or by email at
 Yvonna_Tice@lawd.uscourts.gov


  BENCH TRIAL:                                  June 20, 2022 at 9:00 a.m. in the 2nd floor
                                                Courtroom, Alexandria, Louisiana before the
                                                Honorable David C. Joseph. (Counsel shall report to
                                                the judge’s chambers 30 minutes prior to the start of
                                                trial.)

  PRETRIAL CONFERENCE (“PTC”):                  June 1, 2022 at 10:00 a.m. in chambers before the
                                                Honorable David C. Joseph.



  PRETRIAL DEADLINES:                   FOR:
  12/3/2021                      1.     Joinder of Parties and Amendment of Pleadings. See
  180 days before the PTC               Fed. R. Civ. P. 14 and 15
  12/3/2021                      2.     Expert Witness Disclosure. Parties must disclose the name
  180 days before the PTC               and curriculum vitae of any expert witnesses expected to be
                                        called in the parties’ case-in-chief, as well as a summary of
                                        the subject matter and nature of their expected testimony.
                                        This requirement shall not apply to experts called solely for
                                        rebuttal purposes, which may be disclosed in accordance
                                        with Rule 26(a)(2)(D).



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  1/3/2022                  3.   Plaintiff’s Expert Reports. See Fed. R. Civ. P. 26(a)(2)(B).
  150 days before the PTC        Counsel are cautioned that experts will not be allowed to
                                 testify regarding material not contained within their reports.
  2/1/2022                  4.   Defendant’s Expert Reports. See Fed. R. Civ. P.
  120 days before the PTC        26(a)(2)(B). Counsel are cautioned that experts will not be
                                 allowed to testify regarding material not contained within
                                 their reports.
  3/3/2022                  5.   Discovery Motions. Although the parties may agree to
  90 days before the PTC         continue discovery beyond this date, Motions to Compel
                                 and other discovery-related motions must be filed no later
                                 than 90 days prior to the Pre-Trial Conference absent leave
                                 of court.
  3/3/2022                  6.   Dispositive Motions. Dispositive motions must be filed by
  90 days before the PTC         this date.
  3/3/2022                  7.   Daubert Motions. Daubert motions must be filed by this
  90 days before the PTC         date. Daubert motions are challenges to expert testimony
                                 and exhibits or demonstrative aids based upon grounds that
                                 they are not relevant or reliable under the standards set forth
                                 in Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S.
                                 579 (1993) and Kumho Tire Co., Ltd. v. Carmichael, 526
                                 U.S. 137 (1999).
  5/17/2022                 8.   Motions in Limine. Motions in Limine must be filed by this
  15 days before the PTC         date. Any response must be filed within seven (7) days.
  5/25/2022                 9.   Joint Pretrial Order. The joint pretrial order (and all
  7 days before the PTC          required attachments) must be filed with the Clerk of Court
                                 by this date. A fillable form for this report is available at
                                 http://www.lawd.uscourts.gov. A copy of the pretrial order
                                 (and all required attachments) must be submitted via e-mail
                                 to joseph_motions@lawd.uscourts.gov in Word format.

                                 For Jury Trials:
                                    a. A single jointly-submitted set of jury instructions
                                        and a single jointly-submitted jury interrogatory
                                        form must be attached to the pretrial order.

                                    b. Any dispute concerning a jury instruction or
                                       interrogatory must be noted, with proper page-

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                                       specific cites to the jurisprudence being relied upon
                                       to support each party’s position. If the dispute is one
                                       of fact to be proven at trial, the fact at issue shall be
                                       identified, and the language for an instruction
                                       supporting each factual scenario shall be attached
                                       noting its application to that fact, if found. The
                                       parties must be prepared to discuss disputes as to
                                       jury instructions and jury interrogatories at the
                                       pretrial conference.

                                   c. Jury instructions taken from the Fifth Circuit Pattern
                                      Instructions, or the Louisiana Pattern Civil Jury
                                      Instructions (see 18 La. Civ. L. (section symbol) 1:1,
                                      et seq.), may be identified by number only and
                                      citation to the edition of the volume used.

                                   d. Proposed voir dire questions specific to a party or
                                      issue must be attached to the pretrial order. Copies
                                      of boiler plate voir dire may be obtained on our
                                      website, at www.lawd.uscourts.gov. Counsel shall
                                      not duplicate the Court's boiler plate voir dire.

                                For Bench Trials:
                                Each party’s proposed findings of fact and conclusions of
                                law must be attached to the pretrial order. The conclusions
                                of law from plaintiff are to contain each claim made against
                                each defendant, the remedy or remedies sought, the basis in
                                law relied upon for those claims and remedies, and any
                                jurisprudential gloss upon any statute or code article relied
                                upon with the page cite of the specific language relied upon
                                supporting or interpreting each of plaintiff’s claims and
                                remedies. Plaintiff is to cite the standard or burden of proof
                                it must prove as to each claim, including any right to
                                attorneys’ fees. Defendants are to respond to plaintiff’s
                                claims in the same format, if possible, and additionally cite
                                any affirmative defenses relied upon with the same level of
                                specificity required for plaintiff (i.e., basis in law,
                                jurisprudential gloss, etc.)
  5/25/2022               10.   Trial Depositions. All depositions to be used at trial,
  7 days before PTC             including video depositions, shall be edited to remove

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                                       nonessential, repetitious, and unnecessary material, as well
                                       as objections and colloquy of counsel. A copy of any edited
                                       trial depositions (paper or video for non-jury trials; video
                                       for jury trials are preferred) shall be included in the bench
                                       books. All objections thereto must be filed and briefed by
                                       this deadline. Objections to deposition testimony will be
                                       waived unless submitted along with the deposition
                                       transcripts.
  6/13/2022                     11.    Bench Books. The parties shall deliver two bench books to
  7 days before Trial                  chambers for use by the judge and law clerk at trial. The
                                       bench books should be tabbed and indexed with a cover
                                       sheet on which each party is to state all objections to the
                                       admissibility of exhibits. A third copy of the bench book
                                       shall be placed at the witness stand on the morning of the
                                       trial for use by testifying witnesses. The original exhibits
                                       must be entered into evidence at trial. After trial, the
                                       exhibits actually admitted must also be submitted on CD-
                                       ROM.
  6/13/2022                     12.    Real Time Glossary. The real time glossary shall be
  7 days before Trial                  delivered to the Clerk of Court in Alexandria by this date,
                                       for transmittal to the court reporter. The glossary shall
                                       contain all “key word indexes” from all depositions taken in
                                       the case, all witness lists, all exhibit lists, and copies of all
                                       expert reports.

        Informal Dispute Resolution: The parties are encouraged to contact the Court at any time
 in the process if the parties believe that court intervention would help resolve any dispute,
 including settlement of the entire proceeding. See “Communicating with the Court,” for contact
 guidelines and information.

        Status Conference and Pretrial Conference: Telephonic status conferences will be
 scheduled before the Magistrate Judge periodically. The purpose of a status conference is to
 discuss with the court any difficulties that might preclude the matter from proceeding to trial as
 ordered as well as potential, informal resolution of those issues.

         Your pretrial conference is scheduled before the Honorable David C. Joseph on the date
 designated on the Electronic Scheduling Order to which this is attached. Lead Counsel is to be
 present in chambers for that conference. Please be prepared to discuss procedural questions,
 evidentiary problems, and any other issues about which the Court should be aware and that could
 assist chambers in preparing your case for trial.


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       Continuances: Continuance of a trial date will be disfavored by the Court absent
 compelling circumstances.

       Filing Instructions: E-Filing is mandatory in the Western District of Louisiana. In an
 emergency, printed materials may be filed with the Clerk of Court’s Office in any division of the
 Western District.

            Extensions: No deadline will be extended unless for good cause and only in the interest of
 justice.

         Communicating with the Court: Notwithstanding mandatory e-filing here in the Western
 District of Louisiana, the parties are welcome to contact the Court by telephone, mail, or e-mail.
 All written communication must be copied to opposing counsel and any telephone conference must
 include all parties involved.

        A copy of any dispositive motions, Daubert motions, or motions in limine, as well as a
 copy of the pretrial order (with all required attachments) shall be e-mailed to
 joseph_motions@lawd.uscourts.gov in Word format and sent via hard copy to chambers.

         All matters that must be exchanged among counsel must be exchanged by hand delivery or
 certified mail, unless all counsel agree otherwise, IN WRITING, or unless this Court orders
 otherwise.

        All deadlines in this order are case specific and override any deadlines for the same matter
 found in an applicable rule of civil procedure. All other deadlines in the Federal Rules of Civil
 Procedure shall govern this case and shall be enforced by this Court. Counsel should note Rule 26
 and Rule 37(c)(1).

         This Court will enforce Fed. R. Civ. P. 30, particularly Rule 30(a)(2)(A) (the ten-deposition
 rule) and Rule 30(d)(1) (the rule limiting depositions to one day/seven hours), absent written
 stipulation of the parties or court order. This Court shall enforce Rule 26 unless changed by this
 case-specific order or by subsequent court order.

            SIGNED at Alexandria, Louisiana, on this 12th day of March, 2021.


                                                         David C. Joseph
                                                         U. S. District Judge




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                       PRETRIAL ORDER REQUIREMENTS

                       United States District Judge David C. Joseph


 1.    Jurisdictional Basis.

       The jurisdictional basis for all claims shall be explained.

 2.    Claims and Responses.

       Any party asserting a claim shall identify the following, as to each claim: (1) the law and
       any contractual provision supporting the claim; (b) the remedy prayed for as to each
       defendant; and (c) the law supporting that remedy as to that defendant. This requirement
       applies to all counterclaims, cross-claims, third-party claims, and interventions, and the
       parties shall state whether they have stipulated to any intervention.

       Each party against whom a claim has been asserted shall provide the following information:
       (a) the basis or lack thereof for each claim; (b) all affirmative defenses asserted and the
       legal bases therefor; (c) whether the dispute in question is one of law, fact, or contractual
       interpretation; and (d) the law supporting the responses.

       If a bench trial is scheduled, the information regarding claims and responses contained in
       this section shall be supplemented by page-specific citations to supporting jurisprudence
       as to each claim, remedy, defense, and allegation.

       FAILURE TO INCLUDE A CLAIM OR DEFENSE IN THIS ORDER WILL
       CONSTITUTE ABANDONMENT OF THE CLAIM OR DEFENSE.

 3.    Issues of Fact and Issues of Law.

       Identify any TRUE issues of fact or law that remain unresolved as of the pretrial
       conference.

 4.    Stipulations.

       List any matters to which the parties have stipulated. Counsel are encouraged to stipulate
       to as many factual and legal issues as possible in the interest of reducing costs and delays
       at trial. If the matter will be tried to a jury, counsel shall state whether the stipulations are
       to be read to the jury.


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 5.    Will Call Witnesses.

       Each party shall set out a will call witness list that conforms to the requirements of Fed. R.
       Civ. P. 26(a)(3)(A) and include a brief summary (no more than two to three sentences) of
       the subject matter to which each witness will testify. Witnesses who are called exclusively
       for impeachment need not be listed. Counsel are to omit or redact any personal identifiers,
       in conformity with Fed. R. Civ. P. 5.2 and LR 5.7.12.

 6.    May Call Witnesses.

       Each party shall set out a may call witness list that conforms to the requirements of Fed.
       R. Civ. P. 26(a)(3)(A) and include a brief summary of the subject matter to which each
       witness will testify. Counsel are to omit or redact any personal identifiers, in conformity
       with Fed. R. Civ. P. 5.2 and LR 5.7.12.

 7.    Exhibits.

       Each party shall set out an exhibit list, identifying the exhibits the party will use at trial,
       and conforming to the requirements of Fed. R. Civ. P. 26(a)(3)(A)(iii). Counsel are to omit
       or redact any personal identifiers, in conformity with Fed.R.Civ.P. 5.2 and LR 5.7.12.

 8.    Objections to Witness and Exhibit Lists.

       Each party shall list any objections to the witness or exhibits lists of another party,
       including those objections contained in Fed. R. Civ. P. 26(a)(3)(B). ANY OBJECTIONS
       NOT SPECIFICALLY STATED IN THE PRETRIAL ORDER ARE DEEMED WAIVED
       UNLESS EXCUSED BY THE COURT FOR GOOD CAUSE SHOWN. If an exhibit has
       been objected to, a copy of the disputed exhibit must be made available for review at the
       pretrial conference.

 9.    Counsel Affirmations.

       Counsel for each party shall affirm:

       a.     That he or she is aware that exhibits are to be published to the jury by use of the
              Visual Presenter or a portable data storage device (e.g., flash drive, CD-ROM, etc.)
              unless consent of this Court is obtained upon a showing of impracticality or
              prejudice.



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       b.    That he or she is familiar with the operation of the electronic equipment available
             in the courtroom or note the date he or she has scheduled with the Electronic
             Coordinator for the Western District of Louisiana for training.

       c.    The need, if any, for handicap provisions that are provided by the Court.




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